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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.

[A-MT- O3ZUIA-TeRRES™

 

UNITED STATES OF AMERICA
v.
PAOLA SOTO,

Defendant.

CRIMINAL COVER SHEET

1." Did this matter originate from a matter pending in the Central Region of the United States

Attorney’s Office prior to August 9, 2013 (Mag. Judge Alicia Valle)?

___ Yes ¥ No

-2. Did this matter originate from a matter pending in the Northern Region of the United States
Attorney’s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? __—‘Yes v No

BY:

Respectfully submitted,

ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

- a,
THOMAS A. WATTS-FI
ASSISTANT UNITED STA:

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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

 

United States of America )
Vv. ) —_—
PAOLA SOTO, )  CaseNo. [4-MS- O3438A-TeRRES
)
)
)
Defendant(s)
CRIMINAL COMPLAINT

’ J, the complainant in this case, state that the following is true to the best of my knowledge and belief§ =,

 

 

On or about the date(s) of _- | March 13 and April 4, 2019 in the county of Miami-Dade in the
Southern District of Florida , the defendant(s) violated:
Code Section Offense Description
18U.S.C.545 SMUGGLING WILDLIFE INTO THE UNITED STATES
16.U.S.C. 3372(a)(1) . IMPORTING WILDLIFE IN VIOLATION OF LAW/TREATY

This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT.

a Continued on the attached sheet.

“ Complainant's signature

VICTOR PENALOZA, SPECIAL AGENT, USFWS

Printed name and title

Sworn to before me and signed in my presence.

Date: - 09/13/2019 fp — OO

ZL. Judge's signature
City and state: MIAMI, FLORIDA MAGISTRATE JUDGE EDWIN G. TORRES
. f < Printed name and title ,
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

L, Victor Penaloza, being first duly sworn, depose and state as follows:
1. lam a Special Agent (“SA”) of the United States Fish and Wildlife Service (“F WS” or “Service”), Office
of Law Enforcement, and am therefore an “investigative ot law enforcement officer” of the United States within
the meaning of Title 16, United States Code, Section 3375. As such, I am a Federal Law Enforcement Officer
within the meaning of Rule 41(a), Federal Rules of Criminal Procedure and have held such designation since May
2016: During that time, I have worked as a Special Agent in the Miami, Florida, Office of Law Enforcement
conducting investigations into the trafficking and smuggling of endangered and protected wildlife. Prior to my
employment with the Service, I was a Special Agent for the U.S. Department of Homeland Security (DHS),
Homeland Security Investigations (HSI) for approximately 7 years. With DHS/HSI, I conducted multiple
investigations including the smuggling of contraband into and out of the United States.
2. Based on my training and experience, I am familiar with the laws and regulations primarily enforced by
the FWS, such as the Lacey Act, Title 16, United States Code, Sections 3371, et seq.; and the Endangered Species
Act, Title 16, United States Code, Section 1531, et seq. |
3. During my employment with FWS, I have had extensive training into violations of Federal wildlife related
criminal laws of persons suspected of illegally importing, exporting, taking, possessing, and trafficking in fish and
wildlife. Because of my training and experience, as well as the corporate knowledge and experience of other
Service agents across the United States, I am familiar with the methods commonly used by fish and wildlife dealers
and traders to import, export, collect and sell fish, wildlife and plants in interstate and foreign commerce.

4, Lam making this affidavit in support of an application for an arrest warrant authorizing the arrest of PAOLA

SOTO for violations of the following laws; Title 18, United States Code, Sections 545 (smuggling goods into the
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United States), , Title 16, United States Code, Sections 3372(a)(1) (import wildlife transported in violation of any
law, treaty or regulation of the United States) and Section 1538(c)(1) (engage in any trade in any specimens
contrary to the provisions of the Convention on International Trade in Endangered Species of Wild Fauna and
Flora [CITES] or possessing any specimens traded contrary to the provisions of CITES), Title 50, Code of Federal
Regulations, Sections 23.27 (unlawfully import or trade in any Appendix I, II or III species without a CITES
document) and Section 14.61 (fail to declare wildlife imported into the U.S).

5. The information in this affidavit is based on: (1) my personal observations while conducting the
investigation described, in part, below; (2) Service agents’ interviews of subjects; (3) information provided to me
by witnesses; other investigating agents from HSI and U.S. Customs and Border Protection (CBP); (4) information
- obtained by means of electronic and photographic evidence provided by the aforementioned.

Legal Background

6. Title 18, United States Code, Section 545, makes it unlawful to import merchandise into the United States -

contrary to law.

7. At all times relevant hereto, all species of the Caiman (Caiman spp.) population have been designated as
- either an endangered or threatened species under the Endangered Species Act. 50 C.F.R. Part 17.11.
8. At all times relevant hereto, all species of the Caiman (Caiman spp.) population have been designated as
CITES Appendix I or II species
9. The Lacey Act, Title 16, United States Code, Section 3372(a)(1), makes it unlawful for any person to
import, export, transport, sell, receive, acquire, or purchase any fish or wildlife or plant taken, possessed,

transported, or sold in violation of any law, treaty, or regulation of the United States. —
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10. The Endangered Species Act (ESA), Title 16, United States Code, Section 1538(c)(1), makes it unlawful
for any person subject to the jurisdiction of the United States to engage in any trade in any specimens contrary to
the provisions of CITES or to possess any specimens traded contrary to the provisions of CITES.
1l. Title 50, Code of Federal Regulations, Section 23.13, makes it unlawful to import or trade in any Appendix
I, II or III species without a CITES document.
12. Title 50, Code of Federal Regulations, Section 14.61 makes it unlawful to fail to declare wildlife imported
into the U.S.

Investigation of Paola Soto
13. On or about February 5, 2013, FWS Wildlife Inspector (WI) Kevin Swiechowicz and CBP Officer Z. Saleh
conducted an inbound inspection of SOTO at John F. Kennedy International Airport (JFK) upon SOTO’s arrival
from Colombia. SOTO was identified by her US. Passport and Florida driver’s license. Upon inspection, SOTO
failed to declare the following wildlife items: two hundred and forty-eight (248) brown caiman (Caiman crocodilus
fuscus) swatches and skin pieces on rings, four (4) brown caiman (Caiman crocodilus fuscus) bracelets, one (1)
brown caiman (Caiman crocodilus fuscus) wrapped container, seven (7) brown caiman (Caiman crocodilus fuscus)
finished handbags, one (1) brown caiman (Caiman crocodilus fuscus) and reticulated python (Python reticulatus)
finished handbag, one (1) brown caiman (Caiman crocodilus fuscus) and mink (Neovison sp.) finished handbag,
‘eleven (11) mink (Neovison spp.) skins, and three (3) design books containing a total of one hundred and fourteen
(114) pages of brown caiman (Caiman crocodilus fuscus) swatches, twenty-four (24) pages of reticulated python
(Python reticulatus) swatches, and one (1) page of anaconda (Eunectes sp.) swatches. All of these items were
seized for failure to provide the required CITES permit. All of the finished wildlife items were labeled as “Nancy

Gonzalez,” DBA Gzuniga, Ltd (GZLTD).
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14. Following the seizure mentioned, SOTO stated to WI Swiechowicz that she (SOTO), as an employee of
GZLTD, and had previously accompanied commercial CITES shipments from Colombia to JFK on behalf of
GZLTD. SOTO also stated she had knowledge of CITES permits and was aware of the reporting requirements in
regards to the import and export of wildlife.
15. On March 13, 2019, CBP officers detained four (4) passengers arriving from Colombia at Miami
International Airport (MIA) for attempting to import commercial quantities of wildlife items without declaration.
The passengers were Viviana Valdes Hernandez, Viviana Patricia Campo Tamayo, Hector Alexander Mejia
Salinas and SOTO. Each of the passengers had seven (7) designer bags labeled “Nancy Gonzalez” and made from
caiman skin (Caiman spp.). In total, twenty-eight (28) caiman-skin designer bags were detained by CBP and
subsequently transferred to FWS. SOTO completed and signed a CBP Detention form in regards to the seven (7)
caiman-skin designer bags in her possession on March 13, 2019.
16. On March 14, 2019, SOTO and Valdes Hernandez met with FWS WI Sylvia Gaudio at the FWS Miami
Office concerning the caiman-skin designer bags seized the previous day. SOTO and Valdes Hernandez claimed
ownership and completed a FWS Abandonment form in regard to fourteen (14) of the caiman-skin bags.
17, On March 15, 2019, Campo Tamayo met with WI Gaudio at the FWS Miami Office about the March 13,
-2019 seizure and completed a FWS Abandonment form with respect to seven (7) caiman-skin bags. Tamayo stated
she (Campo Tamayo) was directed to abandon the seven (7) bags by SOTO and Valdes Hernandez.
18. On™March 19 and 21, 2019, WI Gaudio received emails from SOTO regarding the seized caiman-skin bags,
wherein SOTO sought to confirm that the case was closed and that there would be no further consequences. SOTO
stated in the emails that it was clear to her (SOTO) that the incident with the seized caiman-skin bags could not be

repeated. SOTO also stated the caiman-skin designer bags were for an event in New York.
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19, On March 22, 2019, WI Gaudio received an email from Mejia Salinas stating that he (Mejia Salinas) had
returned to Colombia and had been instructed by SOTO to contact WI Gaudio regarding the seized caiman-skin
bags. Mejia Salinas further stated the bags were for an event in New York. Mejia Salinas subsequently submitted
a FWS Abandonment form for seven (7) caiman-skin designer bags to WI Gaudio via email.

20. On April 4, 2019, CBP officers at MIA detained Martha Juliana CIFUENTES SOTO, a Colombian national
arriving from Cali, Colombia, for failing to declare three (3) designer handbags made from caiman skin (Caiman
spp.). CBP officers seized the three (3) caiman-skin designer handbags and contacted FWS and HSI agents.

21. On April 4, 2019, HSI Special Agents (SA) Dave Mondanaro and Kenny Silva, along with FWS SA Victor
Penaloza, conducted a search of CIFUENTES SOTO cell phone under Customs border search authority and |
discovered WhatsApp messages between “PAOLA SOTO” and CIFUENTES SOTO in the Spanish language.
“PAOLA SOTO” was a saved contact in CIFUENTES SOTO’S cell phone.

22. | The WhatsApp messages between SOTO and CIFUENTES SOTO, dating from April 2 to April 4, 2019,
were a conversation in which SOTO offered CIFUENTES SOTO a job transporting bags from Colombia to Miami,
FL. SOTO stated that CIFUENTES SOTO would be paid $170.00 for this job. CIFUENTES SOTO accepted the
job and sent SOTO a photo of her Colombian passport via WhatsApp. SOTO sent CIFUENTES SOTO a screen
shot of the flight details, an American Airlines flight from Cali to Miami on April 4, 2019, and a return flight on
American Airlines on April 5, 2019. SOTO also offered CIFUENTES SOTO an early morning ride to the airport
on April 4, 2019 to ensure CIFUENTES SOTO would not miss the flight to Miami.

23.. On April 4, 2019, SA Mondanaro, SA Kenny Silva and SA Penaloza interviewed CIFUENTES SOTO

regarding the three (3) caiman-skin designer bags seized by CBP officers at MIA. Despite initially giving false
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statements to the Agents, CIFUENTES SOTO admitted her cousin, PAOLA SOTO, organized the trip to import
the three (3) caiman-skin bags into the U.S for commercial purpose. CIFUENTES SOTO also stated SOTO paid
for the airline tickets and gave an additional $170.00 USD to CIFUENTES SOTO for delivery of the bags.
CIFUENTES SOTO stated the designer bags were to be mailed to New York City upon her arrival at Miami.
SOTO was to provide the New York City address. CIFUENTES SOTO further stated she had brought designer
bags from Colombia to the U.S. for commercial purposes in February, June and September 2018, bringing two (2)
designer bags on each trip. CIFUENTES SOTO advised she was instructed by SOTO to bring the designer bags
to the U.S., and to wear one (1) of the designer bags and place the others in a suitcase to avoid declaring the bags
as acommercial shipment. CIFUENTES SOTO also stated SOTO implemented a method of transporting designer
bags for commercial purpose via passenger airline, by using multiple travelers and then having all of the bags
collected by one of the travelers after arriving in the US.

24. In September 2019, SA Penaloza conducted FWS database queries for SOTO and. discovered one (1)
declared import of five (5) caiman-skin designer bags from South Korea to New York on July 26, 2018. The
exporter, Common Wealth, completed an export CITES permit for the bags. SOTO had received the five (5)
caiman-skin bags on behalf of GZLTD. SA Penaloza found no CITES permits on record for the caiman-skin
designer bags imported by SOTO on March 13 and April 4, 2019.

25. Your Affiant therefore respectfully requests, based on the facts set forth in this affidavit, the issuance of an

arrest warrant for Paola SOTO, for violations of the Title 18, United States Code, Section 545, smuggling goods

into the United States contrary to law and Title 16, United States Code, Sections 3372(a)(1) and 3373(d)(1)(A),
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: importing wildlife transported in violation of any law, treaty or regulation of the United States.

FURTHER AFFIANT SAYETH NAUGHT

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1

Signed and sworn to before
me at Miami, Florida,
this _13' day of §

   
 

ber 2019.

 
   

EDWINZ TORRES
UNITB STATES MAGISTRATE JUDGE

 

ZA

Special Agent Victor Penaloza
U.S. Fish & Wildlife Service

 

 

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